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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 KATHY PERKINS                                                            CIVIL ACTION

 VERSUS                                                                   NO. 17-6689

 PEL HUGHES PRINTING, LLC ET AL.                                          SECTION A(4)

                                  ORDER AND JUDGMENT

       Before the Court is a Motion for Entry of Judgment (Rec. Doc. 79) filed by Defendants

Pel Hughes Printing, LLC and John Victor Hughes (hereinafter collectively referred to as

“Defendants”). Plaintiff Kathy Perkins has not filed an opposition to the Motion. The Motion, set

for submission on February 20, 2019, is before the Court on the briefs without oral argument.

Having considered the motion and memorandum of counsel, the record, and the applicable law,

the Court finds that the Motion for Entry of Judgment (Rec. Doc. 79) is GRANTED.

       Perkins filed the instant suit asserting three claims against Defendants: (1) interference

under the Family Medical Leave Act (“FMLA”); (2) retaliation under the FMLA; and (3)

intentional infliction of emotional distress. (Rec. Doc. 1, Complaint). On December 5, 2018, the

Court granted Defendants’ motion for summary judgment in part to dismiss Perkins’ two FMLA

claims. (Rec. Doc. 65). On January 23, 2019, the Court granted Defendants’ motion for

reconsideration and dismissed Perkins’ remaining claim for intentional infliction of emotional

distress. (Rec. Doc. 74). Thereafter, the Court denied Perkins’ motion for reconsideration. (Rec.

Doc. 81). Considering that all of Perkins’ claims have been dismissed on summary judgment, the

Court concludes final judgment is appropriate.

       Accordingly;

       IT IS ORDERED that Defendants’ Motion for Entry of Judgment (Rec. Doc. 79) is

GRANTED;
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       IT IS FURTHER ORDERED that there be a judgment in favor of Pel Hughes Printing,

L.L.C. and John Victor Hughes, and against Kathy Perkins, dismissing all claims with prejudice.

       New Orleans, Louisiana, this 7th day of March, 2019



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                                                              JUDGE JAY C. ZAINEY
                                                       UNITED STATES DISTRICT JUDGE
